1. A JL fa against the estate of a testator, cannot lawfully be levied on slaves which, being specifically bequeathed, are in the possession of the legatees, as their property, either by actual delivery from the Executor, or by his permission. See Burnley v. Lambert, 1 Wash. 308— 313, accordant.2. In such case a Court of Equity may award an Injunction to prevent the sale of the property. See Randolph v. Randolph, &amp;c. 3 Munf. 99 ; and Wilson Sf Trent v. Butler and others. Ibid 559,UPON an Appeal from a Decree of the late Chancellor Wtthe, pronounced the 10th of March 1803.And this Decree was affirms» by the Court of Appeals.